         Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 1 of 18




                        UNITED STATES DISTRICT COURT FOR THE

                                WESTERN DISTRICT OF TEXAS

JOE HOLCOMBE, ET AL.                                   )
                                                       )
                       Plaintiff,                      )
                                                       )
v.                                                     )       CIVIL ACTION NO. 5:18-CV-555-XR
                                                       )
UNITED STATES OF AMERICA                               )
                                                       )
                       Defendant.                      )

     ACADEMY, LTD., D/B/A ACADEMY SPORTS + OUTDOORS’ MOTION FOR
                      PROTECTION FROM SUBPOENA

TO THE HONORABLE JUDGE OF THE COURT:

       Non-party Academy, Ltd., d/b/a Academy Sports + Outdoors (“Academy”) asks this Court

for protection from the third-party subpoena issued by the United States of America (the “United

States” or “government”). The government seeks discovery arising from the same incident as the

Texas state court litigation that most of the plaintiffs in this suit filed against Academy, which the

Texas Supreme Court has stayed until further order of the Court in the pending mandamus

proceedings. Specifically, the government seeks the same discovery Academy was ordered to

produce in the state court litigation. But Academy objected to producing that discovery in the state

court litigation on the grounds of the federal immunity statute (discussed below) and that discovery

was only produced under an Agreed Protective Order and Confidentiality Agreement (“Agreed

Protective Order”), a copy of which is attached hereto as Exhibit A, and all parties to this litigation

should be required to conform to the same Agreed Protective Order. If not, the result will be that

this Court will: (1) negate the parties’ agreed and state court-ordered protections that governed this

discovery in the first place; and (2) defeat the intent and purpose of the Texas Supreme Court’s

orders staying any further proceedings, including all discovery, against Academy.


                                                  1
         Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 2 of 18




                             BRIEF FACTUAL BACKGROUND

       In 2017 and 2018, a number of the victims and relatives of victims of the November 5,

2017 shooting in Sutherland Springs, Texas filed these lawsuits:

   • Ward v. Academy, Cause No. 2017-CI-23341, in the 224th Judicial District Court of Bexar
       County, Texas;

   • Solis v. Academy, Cause No. 2018-CI-14368, in the 438th Judicial District Court of Bexar
       County, Texas;

   • McMahan v. Academy, Cause No. 2018-CI-23299, in the 285th Judicial District Court of
       Bexar County, Texas; and

   • Braden, R. v. Academy, Cause No. 2018-CI-23302, in the 408th Judicial District Court of
       Bexar County, Texas

(collectively, the “Consolidated Cases”). Subsequently, in 2019, 56 additional plaintiffs filed

Braden, D. v. Academy, Cause No. 2019-CI-03804, in the 225th Judicial District Court of Bexar

County, Texas (“Braden II,” collectively with the Consolidated Cases, the “Stayed Texas

Litigation”). The Stayed Texas Litigation arose from the same incident at issue in this lawsuit,

and involves some of the same plaintiffs and lawyers suing the United States here.

       In the Stayed Texas Litigation, Academy urgently and persistently argued that under the

Protection of Lawful Commerce in Arms Act – 15 U.S.C. §§ 7901 et seq. (“PLCAA”), it is immune

from any “qualified civil liability action,” as such term is defined under PLCAA, necessarily

including the burdens of discovery resulting therefrom. Nonetheless, despite Academy’s repeated

objections to discovery on that basis, the Texas trial court ordered Academy to participate in some

limited document and deposition discovery in the Consolidated Cases, before the court would hear

Academy’s motion for summary judgment asserting its PLCAA immunity defense.

       The plaintiffs in the Consolidated Cases agreed that all of Academy’s production, and all

discovery, would be subject to the Agreed Protective Order, which was properly entered by the


                                                2
          Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 3 of 18




Court to govern discovery. 1 In reliance on this order, Academy provided the limited discovery—

more than 6,000 pages of documents and information—and then pursued its summary judgment

motion.

        In the Consolidated Cases, the trial court improperly denied Academy’s summary

judgment motion to enforce PLCAA immunity, and Academy promptly sought appellate review.

Ultimately, Academy petitioned the Texas Supreme Court for mandamus review, and urged that

all discovery against it be stayed pending the outcome of that proceeding. The Texas Supreme

Court agreed and ordered that all state court litigation pending against Academy arising from the

Sutherland Springs incident be stayed, including discovery. 2 The Texas Supreme Court called for

briefs on the merits, which have been submitted, and the case awaits decision by the Court. In the

meantime, the Consolidated Cases have remained stayed for all purposes. 3

        The Braden II case was filed in Bexar County district court after Academy’s summary

judgment motion was denied in the Consolidated Cases. The Braden II Plaintiffs sought to

continue discovery and circumvent the Agreed Protective Order, despite the stay in the

Consolidated Cases. Those efforts prompted the Texas Supreme Court to enter the second order

expressly staying all discovery in Braden II, as well. 4 The trial court in Braden II did not have the

opportunity to consider a motion for summary judgment. The stay halted discovery based on

Academy’s position that PLCAA immunity bars lawsuits (including discovery) against it for the

claims plaintiffs assert.5 Through its two stay orders, the Texas Supreme Court stayed the state




1
  Agreed Protective Order, attached as Exhibit A.
2
  Texas Supreme Court Stay Order 1, attached as Exhibit B.
3
  By agreement, plaintiffs in several new cases filed since the stays were issued voluntarily agreed to halt
proceedings pending the Texas Supreme Court’s resolution of the mandamus proceedings.
4
  Texas Supreme Court Stay Order 2, attached as Exhibit C.
5
  The federal PLCAA statute “immunizes a specific type of defendant from a specific type of suit.” City of New York
v. Beretta U.S.A. Corp., 524 F.3d 384, 398 (2d Cir. 2008).

                                                        3
         Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 4 of 18




trial court proceedings against Academy, until it resolves Academy’s mandamus proceedings

seeking to enforce its immunity under PLCAA.

       On March 5, 2020, the United States of America served Academy with a Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

(the “Subpoena”). The Subpoena seeks the production of “all documents, records,

communications, or other materials produced to any plaintiff” in the Consolidated Cases.

       Accordingly, the subpoena raises three concerns that spurred Academy to file this Motion

for Protection. First, the subpoena undercuts Academy’s statutory immunity provided by PLCAA.

Second, the subpoena seeks information that Academy provided to the Plaintiffs only pursuant to

the Agreed Protective Order. Yet the subpoena says nothing about the Agreed Protective Order or

protecting Academy’s confidential, sensitive, and proprietary information. Third, the subpoena

undermines the Texas Supreme Court’s current stay of the Stayed Texas Litigation and discovery.

The Texas Supreme Court entered that stay because Academy seeks to vindicate its right not to

even be sued in the first place, and the Texas Supreme Court has determined that Academy should

not be subject to any additional discovery unless and until that legal issue is decided.

                              ARGUMENT AND AUTHORITIES

1.     While Academy objects to any and all actions and/or judicial burdens imposed
       against it on the basis of PLCAA immunity and the Texas Supreme Court’s stay of
       litigation and discovery, Academy will comply with a court order to make available
       all subpoenaed documents, which documents should be subject to the same
       protections set forth in the Agreed Protective Order governing the Stayed Texas
       Litigation.

       Academy expressly reserves, and does not waive, any and all rights under PLCAA and the

stay of litigation and discovery put in place by the Texas Supreme Court in the Stayed Texas

Litigation. Academy continues to insist that Congress enacted PLCAA to immunize Academy




                                                 4
          Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 5 of 18




and other law-abiding firearm retailers from litigation and all of its related expenses, including the

time and money spent complying with discovery demands in qualified civil liability actions.

        Academy recognizes that the government’s subpoena extends only to those documents

Academy already produced in the Consolidated Cases. The state trial court’s order already

deprived Academy of that limited portion of its PLCAA immunity, but it still only required

Academy to produce materials subject to the Agreed Protective Order. The harm to Academy will

be lessened, though still substantial, if this Court orders that Academy produce the subpoenaed

documents subject to the same Agreed Protective Order, which Academy attaches as Exhibit A to

this motion for protective order.6

        If this Court does not protect Academy’s rights by making the production subject to the

same restrictions in the Agreed Protective Order, this case will create new burdens—the very

burdens that Congress enacted PLCAA to prohibit, in addition to the disclosure of confidential,

sensitive, and proprietary information without the protection of a confidentiality order to prevent

their public disclosure.

        Fortunately, it appears this Court will not have to examine the PLCAA issues already

pending before the Texas Supreme Court. Academy has conferred with the United States

Attorney’s Office regarding the entry of Exhibit A as a prerequisite to Academy’s submission of

documents in this lawsuit. The United States Attorney’s Office is not opposed to the language in

Exhibit A governing Academy’s response to the subpoena issued by the United States Attorney’s

office. Additionally, several of the plaintiffs’ attorneys in this case have already confirmed and

agreed to the Agreed Protective Order.




6
  Respectfully, Academy cannot produce the subpoenaed information unless compelled to do so in order to avoid any
risk of violating the stay entered by the Texas Supreme Court.

                                                       5
         Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 6 of 18




2.     Academy has a good cause basis for protecting the confidentiality of certain
       information: the safety of its employees and the confidentiality of its proprietary
       information.

       Like Texas state law, federal law explicitly empowers this Court to issue or enforce a

protective order to protect Academy “from annoyance, embarrassment, oppression, or undue

burden or expense.” FED. R. CIV. P. 26(c)(1); see also TEX. R. CIV. P. 192.6(b). Here, Academy

acknowledges it may be ordered to produce documents to the government, and merely asks the

Court to maintain the confidentiality of its commercially sensitive policies, procedures, and

processes, as well as the identities of its employees, by prohibiting the public disclosure of those

limited categories of information. Scott v. Monsanto Co., 868 F.2d 786, 792 (5th Cir. 1989)

(upholding protective order entered by district court that protected confidential information

relating to company processes and policies); Butta-Brinkman v. FCA Int’l, Ltd., 164 F.R.D. 475,

476 (N.D. Ill. 1995) (supporting use of protective order to maintain confidentiality of identities of

particular employees that would otherwise be disclosed in discovery process).

       Academy urges that this Court grant it the protection specifically provided for under the

Federal Rules, which has also previously been agreed to by plaintiffs in the Stayed Texas Litigation

and enforced by the Bexar County Court, by ordering that the documents be produced subject to

the terms of the Agreed Protective Order.

       A.      Academy has good cause and a legal basis for protecting the identities of its
               employees, which is a legitimate subject of protection under federal law.

       The unprotected disclosure of Academy’s confidential information will do Academy’s

employees and Academy irreparable harm, but that harm can be prevented if the disclosure is made

subject to the Agreed Protective Order. Initially in the Stayed Texas Litigation, all Plaintiffs (and

their counsel) unanimously agreed with Academy that the “identity of Academy employees in this




                                                 6
          Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 7 of 18




situation should absolutely remain confidential.”7 The reason for that unanimity is clear: all parties

recognize the visceral, emotional intensity of this case, and the possibility of individual threats to

any Academy employees who are identified in connection with this case.8

        For that reason, Academy has always insisted on protecting the names of Academy

employees from public disclosure, and both the plaintiffs and the trial court in the Stayed Texas

Litigation have agreed with those safeguards. Academy did not withhold the identity of any

employee requested by the plaintiffs; however, the plaintiffs and Academy concluded that

employee identities should be maintained strictly confidential, and the Bexar County Court

repeatedly agreed.      To that end, where employee identification was required in any non-

confidential document in the Stayed Texas Litigation, it was either redacted or the employee was

identified by title instead of name. All parties and the court agreed this was an effective and

appropriate solution to a difficult and sensitive issue. But for the protections of the Agreed

Protective Order, Academy would not have had any way to protect the safety of its employees,

despite the fact that all parties, and the Bexar County Court agreed that it was prudent and

necessary to do so.

        Federal courts addressing the same issue have agreed both that the identities of employees

are a proper subject for protection and that the method Academy seeks to employ—strict

prohibition on public disclosure and/or use of Academy employee names and identities for any

purpose outside of the litigation—is appropriate. Butta-Brinkman, 164 F.R.D. at 476. The court

in Butta-Brinkman confronted this precise issue—whether employee identities should be protected

from public disclosure even if they are within the scope of discovery—under the Federal Rules.



7
  Transcript of March 8, 2019 Hearing in Consolidated Cases, 46:18-24 (Justin Demerath speaking), attached as
Exhibit D.
8
  See id.

                                                     7
             Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 8 of 18




164 F.R.D. at 476. In that case, the court expressly held that, while a party is not entitled to

withhold discovery of its employees’ identities if they are within the scope of discovery, it may

nonetheless seek a protective order to keep the employee names confidential and/or otherwise

prohibit public disclosure. Butta-Brinkman, 164 F.R.D. at 476; FED. R. CIV. P. 26(c). That is

precisely what Academy seeks to do here. Id. As the Court held in Butta-Brinkman, Academy’s

interest in protecting its employees is legitimate, and Academy’s method for doing so is sound.

Id. This Court should do the same, and continue to protect the safety and privacy of Academy’s

employees, just as plaintiffs in the Stayed Texas Litigation agreed to do, and just as the Bexar

County Courts have vigilantly enforced to date.

           B.       Academy has good cause and a legal basis for protecting its confidential
                    processes, policies, and procedures, which are a legitimate subject of
                    protection under federal law.

           In addition to the identities of Academy’s employees, Academy has also produced, as

ordered by the Texas state trial courts, a large volume of highly confidential, sensitive, and

commercially valuable business information in the Consolidated Cases, subject to the Agreed

Protective Order. For that reason, the Agreed Protective Order defines “Confidential Information”

to include:

           Information, documents, and things designated as “CONFIDENTIAL” and
           reasonably considered in good faith by a party to contain either: (a) non-public,
           proprietary, or confidential financial or business information; (b) non-public,
           proprietary, or confidential sales and customer information; (c) non-public,
           proprietary, or confidential corporate and strategic planning information; or (d) the
           identity of Academy personnel disclosed as persons with knowledge or designated
           as potential witnesses. 9

As agreed to and entered in the Consolidated Cases, these four categories of “Confidential

Information” are narrowly tailored to fit the specific needs of the parties and closely track both



9
    Agreed Protective Order, attached as Exhibit A.

                                                      8
           Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 9 of 18




statutory and case law in this area. FED. R. CIV. P. 26(c)(1); Scott v. Monsanto Co., 868 F.2d 786,

792 (5th Cir. 1989) (upholding protective order entered by district court that protected confidential

information relating to company processes and policies); see also Sanders v. Shell Oil Co., 678

F.2d 614, 618 (5th Cir. 1982).

         Academy has already relied on the Agreed Protective Order in producing highly

confidential, sensitive, and commercially valuable information in the Consolidated Cases that fits

within each of the first three categories, as well as the identities of Academy employees covered

by the fourth category, in the Stayed Texas Litigation.10 The government’s subpoena seeks all of

the same information.

         Specifically, in the Consolidated Cases, Academy has produced the following documents,

all of which include non-public, proprietary, and confidential financial, business, and strategic

planning information:

             •    Academy firearm training policies and procedures;
             •    Academy firearms procedure manuals;
             •    Academy firearm license applications and renewals;
             •    Academy emails regarding policies and procedures and the strategies related
                  thereto;
             •    Academy Bureau of Alcohol, Tobacco, and Firearm (“ATF”) audits;
             •    Academy human resource materials for certain employees; and
             •    Academy public communications procedures.11

Academy has also produced the following documents, which contain non-public, proprietary, and

confidential sales information in the Consolidated Cases:

             •    Information on the sales of all modern sporting rifles from all Bexar County stores
                  to out of state purchasers;
             •    Summary of cost, revenue, and profit for sales to out of state purchasers; and
             •    Academy vendor and distributor agreements with terms specific to Academy. 12

10
   Affidavit of Academy, attached as Exhibit E (this document has been redacted to protect the name of the employee
executing the affidavit but, if requested, will be provided to the Court for in camera inspection prior to the hearing on
this motion).
11
   Id.
12
   Id.

                                                           9
         Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 10 of 18




         The threat posed to Academy by the unrestricted disclosure of this confidential financial,

business, strategic, and sales information is that it will be used by Academy’s competitors, and

other market actors, to both compete with, and undercut, Academy. 13 Academy’s non-public

policies and procedures, for example, have been implemented by Academy through years of

development and the investment of substantial financial and human resources. These documents

are both proprietary to Academy and the product of extensive work and expense put forth by

Academy. 14 Revealing that information to competitors and the market at large robs Academy of

its efforts and expense and rewards other market competitors with the fruits of Academy’s

proprietary labor.15 This is exactly the kind of commercial information protective orders are

designed, and permitted, to protect. Scott, 868 F.2d at 792. The government’s subpoena covers

all of these same documents. Academy has proven a valid basis for both the Agreed Protective

Order and the confidentiality of its proprietary, non-public information. 16

         The Fifth Circuit approved a protective order to prevent the public disclosure of similar in

formation in Scott v. Monsanto Co., 868 F.2d 786 (5th Cir. 1989). In that case, the court held that

Monsanto satisfied its burden under Rule 26(c) by demonstrating that responding to plaintiffs’

requests for discovery necessitated the disclosure of confidential matters, including Monsanto’s

internal policies and procedures. Id. (citing Sanders v. Shell Oil Co., 678 F.2d 614, 618 (5th Cir.

1982) and Swanner v. United States, 406 F.2d 716, 719 (5th Cir. 1969)). In concluding that

Monsanto’s protective order was valid, enforceable, and appropriate under federal law, the Fifth

Circuit held:



13
   Id.
14
   Id.
15
   Id.
16
   Id.

                                                 10
            Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 11 of 18




           The protective order entered in this case was not unduly constricting. The plaintiffs
           were free to use any discovery materials in the development of their case. The
           protective order merely restricted use of those materials to this litigation.
           Although plaintiffs claim harm from the inability to share and compare information
           with other litigants in other cases, no prejudice has been shown sufficient to
           overcome the district court's broad discretion in this area. The entry of the
           protective order was not an abuse of discretion.

Scott, 868 F.2d at 792 (emphasis added). That is all Academy seeks in this case: merely to restrict

the use of any documents it produces to this litigation, just as such documents have been restricted

in the Consolidated Cases. Scott, 868 F.2d at 792. The entry of the Agreed Protective Order in

this litigation is consistent with federal law and will ensure that is the case. Id.; FED. R. CIV. P.

26(c).

           C.       The Agreed Protective Order is consistent with the law and should be entered
                    in this case.

                    i.        The Court has authority to enter a protective order that prevents
                              public disclosure of Academy and its employees’ confidential
                              information.

           The Agreed Protective Order is valid, enforceable, and consistent with the law. FED. R.

CIV. P. 26(c)(1); Scott, 868 F.2d at 792; Sanders, 678 F.2d at 618; Swanner, 406 F.2d at 719. Any

party may seek a protective order limiting or otherwise restricting document disclosure in any

situation where the disclosure threatens a particular, specific, and demonstrable injury. Scott, 868

F.2d at 792; Butta-Brinkman, 164 F.R.D. at 476; EEOC v. BDO USA, L.L.P., 876 F.3d 690, 698

(5th Cir. 2017). The Court may issue a protective order for a variety of purposes, including “[t]o

protect a party or person from annoyance, embarrassment, oppression, or undue burden or

expense.” FED. R. CIV. P. 26(c)(1); Scott, 868 F.2d at 792; Butta-Brinkman, 164 F.R.D. at 476;

Glenmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995) (setting forth a number of

factors relevant to good cause for protection under FED. R. CIV. P. 26(c)).17 In furtherance of any


17
     FED. R. CIV. P. 26(c)(1) closely tracks the language of the Texas rule, TEX. R. CIV. P. 192.6(b).

                                                            11
            Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 12 of 18




appropriate purpose, the Court may order that the requested discovery not be sought, that the extent

or subject matter of discovery be limited, or that the results of discovery be sealed or otherwise

protected, as is the case here. Id. Here, Academy merely seeks to have this Court protect certain

documents and information that Academy produces, as set forth in the Agreed Protective Order

previously agreed to by plaintiffs and the State court in the Stayed Texas Litigation.18

                    ii.      Protective orders may be used to protect against harassment and/or the
                             invasion of commercial, personal, or property interests.

           Protective orders are appropriate and should be issued to protect legitimate privacy or

confidentiality interests and to defend against annoyance, embarrassment, undue burden, or

expense. FED. R. CIV. P. 26(c)(1); Scott, 868 F.2d at 792; In re Ohio Execution Protocol Litig.,

845 F.3d 231, 236 (6th Cir. 2016). To be entitled to protection, Academy need only show good

cause and that Academy’s interests fit within the dictates of Rule 26. Id.; Sanders, 678 F.2d at

618; Glenmede Trust Co., 56 F.3d at 483.

           Further, information need not be a trade secret for it to be subject to protection by the court.

Scott, 868 F.2d at 792; Butta-Brinkman, 164 F.R.D. at 476; McKinney/Pearl Rest. Partners, L.P.

v. Metro. Life Ins. Co., 322 F.R.D. 235, 242 (N.D. Tex. 2016) (holding that the court has broad

discretion in when and how to fashion protective orders). To the contrary, in both Scott and Butta-

Brinkman, discussed in detail, above, federal courts specifically approved protective orders for the

purpose of protecting a company’s policies and procedures, in Scott, and the identity of a

company’s employees, in Butta-Brinkman, by prohibiting public disclosure of such documents and

information and expressly limiting their use to the subject litigation. Id. Again, that is all Academy

asks the Court to do here.




18
     Agreed Protective Order, attached as Exhibit A.

                                                       12
        Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 13 of 18




3.     Forcing Academy to produce documents in this case without the Agreed Protective
       Order would undermine the rights that PLCAA protects, would defeat Academy and
       Academy’s employees’ legitimate interests in privacy and confidentiality, and would
       defeat the protections in place in the Stayed Texas Litigation.

       All of Academy’s production in the Consolidated Cases, which is the entire universe of

documents requested by the United States in its subpoena, was made over Academy’s objections

and its assertion of immunity pursuant to PLCAA. The United States seeks discovery of the very

same documents from the Consolidated Cases. But this Court must recognize that Academy

produced that discovery subject to the express Agreed Protective Order, and then continued to

fight to vindicate its PLCAA immunity from suit in the Texas Supreme Court. Those restrictions

should guide this Court’s judgment as well.

       Recognizing Academy’s legitimate interest in the safety of its employees and the

confidentiality of its proprietary information, the Agreed Protective Order was carefully drafted,

negotiated, and agreed to by Academy and the plaintiffs to adequately protect the parties’

legitimate confidentiality interests. The Agreed Protective Order governed discovery that was

completed against Academy, the production of documents by Academy, and the depositions of

Academy employees. Any disclosure of the documents produced in the Consolidated Cases by

Academy in this case should be subject to the same protections.

       A.      Academy has a legitimate, good cause basis for protecting the confidentiality
               of Academy’s and Academy’s employees’ private information, and the parties
               in this case have no valid basis for seeking any discovery that is, in form or
               substance, in excess of what Academy has already been subjected to in the
               Stayed Texas Litigation.

       By definition, Academy has already produced all of the same documents the government

asks it to disclose in this lawsuit. But Academy only did so pursuant to court order and subject to

the Agreed Protective Order in the Consolidated Cases. Academy requests that the Court provide




                                                13
        Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 14 of 18




Academy the same protection it was provided by the Agreed Protective Order in the Stayed Texas

Litigation.

       There is no valid basis for any disclosure of any documents in excess of Academy’s prior

production, subject to the same protections as Academy’s prior production. The government has

not requested any such documents, nor has the government objected to or opposed the Agreed

Protective Order. Plaintiffs, on the other hand, should be prohibited from doing so, because they

either expressly agreed to the Agreed Protective Order, in which case they should be bound by it,

or they are subject to the Texas Supreme Court’s stay of discovery against Academy, in which

case they must not be allowed to use this lawsuit to defeat that order.       See Orthoflex, Inc. v.

ThermoTek, Inc., Civ. Nos . 3:11-cv-0870-D, 3:10-cv-2618-D, 2013 WL 3095106, at *3 (N.D.

Tex. June 20, 2013) (agreed protective orders should be enforced like contracts).

       B.      It would be error for this Court to refuse to enforce the Agreed Protective
               Order in this lawsuit.

       It would be error for a court to vacate or refuse to enforce a protective order that has been

agreed to and relied on, even in another proceeding. Keene Corp. v. Caldwell, 840 S.W.2d 715,

720 (Tex. App.–Houston [14th Dist.] 1992, orig. proceeding); see also Orthoflex, Inc., 2013 WL

3095106, at *3 (holding that an agreed protective order may be treated, substantively, as a contract,

and enforceable as such). Because agreed protective orders are treated like contracts under both

state and federal law, the analysis of agreed protective orders present a combination of both

substantive and procedural issues. Orthoflex, Inc., 2013 WL 3095106, at *3. While the Agreed

Protective Order is certainly subject to federal standards, Plaintiffs’ promise to be bound by the

Agreed Protective Order is a substantive issue of law for which Texas law is instructive and

relevant.




                                                 14
        Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 15 of 18




       On that basis, a court cannot vacate or refuse to enforce a protective order—like the Agreed

Protective Order—which has been agreed to and relied on to produce documents, even if that

protective order was issued in another proceeding. Id. In Keene, the court determined just that,

holding that “[r]eliance on a protective order is a factor which should be given great weight when

a court determines whether a protective order should later be vacated or modified.” Id. The court

went on to explain that, because the parties had allowed certain evidence to be disclosed because

they believed it would be secure under the protective order, “[i]t would be unfair to tell the parties

. . . that their reliance was misplaced. It would frustrate the discovery process because parties

would fear that any protective order issued could later be vacated by another court.” Id. The court

issued a writ of mandamus because the trial court abused its discretion in ordering a party to

produce documents that were protected by the protective order, even though that order governed

discovery in a separate proceeding. Id.; see also Pittsburgh Corning Corp. v. Caldwell, 861

S.W.2d 423, 426-27 (Tex. App.—Houston [14th Dist.] 1993, orig. proceeding) (also enforcing a

protective order even though it was issued in another proceeding).

       In Pittsburgh Corning Corp., the court followed Keene and gave “due deference and

respect” to a protective order issued by a federal district judge in a separate proceeding. 861

S.W.2d at 426. The court noted that “[t]o allow one court to intrude upon the orders of another is

not in the interest of judicial economy and is inappropriate without concrete public policy

concerns,” which are not at play here. Id. On that basis, the court held that the trial court clearly

abused its discretion in ordering a party to produce a document that was subject to a protective

order. Id.

       To the extent Plaintiffs in this lawsuit object to the Agreed Protective Order, even though

the United States does not, the principle that a party cannot use a protective order to get another



                                                 15
            Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 16 of 18




party to produce documents and then, once the documents are produced, pull the protective order

out from under them applies with even more force, because some of the same lawyers representing

the Plaintiffs here are also counsel for plaintiffs in the Consolidated Cases, who are unquestionably

governed by the Agreed Protective Order.19 Texas Courts have been clear that any such strategy

by Plaintiffs is improper, because “[a] party is estopped from complaining of error in the trial court

when the error occurred at the party’s request.” Shafer v. Bedard, 761 S.W.2d 126, 131 (Tex.

App.‒Dallas 1988, no writ). Consequently, when a party seeks a protective order and receives a

protective order with substantially similar terms, that party may not subsequently challenge the

terms of the protective order. Id. If Plaintiffs object to the Agreed Protective Order here, that is

precisely what they will be doing, and precisely why any such attempt must be rejected by the

Court.

                                                  CONCLUSION

           Academy is not a party to this lawsuit. However, while Academy continues to assert its

immunity from suit, liability, and discovery pursuant to PLCAA in the Stayed Texas Litigation,

Academy is willing to provide, if ordered by this Court, any documents or information responsive

to the government’s subpoena, but requests that all such disclosure be subject to the protections

set forth in the Agreed Protective Order. Specifically, Academy asks that: (1) its confidential

business information; and (2) the identities of its employees not be subject to public disclosure, be

maintained on a confidential basis, and be restricted to use in this lawsuit and for no other purpose.

           These limited protections are expressly provided for in the Federal Rules and have

specifically been applied by federal courts in the manner that Academy requests to the same

categories of documents and information Academy seeks to protect. FED. R. CIV. P. 26(c)(1);



19
     Agreed Protective Order, attached as Exhibit A.

                                                       16
        Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 17 of 18




Scott, 868 F.2d at 792; Butta-Brinkman, 164 F.R.D. at 476. Additionally, the Court’s refusal to

enter these limited protections will undermine the stay orders of the Texas Supreme Court.

Importantly, ordering production of the subpoenaed documents without an adequate protective

order will cause irreparable harm to Academy and individual Academy employees, including

making public and raising significant safety concerns for the employees’ well-being and public

disclosure of Academy’s confidential information and trade secrets.

       Such an order of disclosure without confidentiality protections would imperil substantial

public interests by endangering the safety of employees and rendering valueless trade secrets and

confidential and sensitive information, thereby providing undue advantage to adversaries and

competitors. There is no adequate compensation or remedy for disclosed confidential and sensitive

information and trade secrets, which makes such a disclosure order unreviewable on appeal.

       For these reasons, Academy asks the Court to enter the attached Agreed Protective Order,

so that Academy can disclose the information sought by the government’s subpoena, as ordered,

without delay or prejudice to its rights.



                                            RESPECTFULLY SUBMITTED,

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                                               17
        Case 5:18-cv-00555-XR Document 184 Filed 03/20/20 Page 18 of 18




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on all counsel
of record pursuant to the Federal Rules of Civil Procedure on March 20, 2020.



                                                      /s/ Janet E. Militello
                                                      Janet E. Militello




                                                 18
